Case No. 1:13-cv-03363-CMA-KLM Document 210 filed 06/28/19 USDC Colorado pg 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Judge Christine M. Arguello

   Civil Action No. 13-cv-03363-CMA-KMT

   SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

   v.

   DANIEL DIRK CODDINGTON,
   MICHAEL B. COLUMBIA,
   JESSE W. ERWIN, JR.,
   MERLYN CURT GEISLER,
   MARSHALL D. GUNN, JR., CPA,
   SETH A. LEYTON,
   LEWIS P. MALOUF,
   EXTREME CAPITAL LTD.,
   FIDELITY ASSET SERVICES CORP.,
   GEISCO FNF, LLC,
   GOLDEN SUMMIT INVESTORS GROUP LTD.,
   SOUTHCOM MANAGEMENT LLC, and
   STONEROCK CAPITAL GROUP LLC,

         Defendants, and

   DANIEL SCOTT CODDINGTON,
   CODDINGTON FAMILY TRUST,
   JOANNA I. COLUMBIA, a/k/a Joanna I. Ornowska,
   VINCENT G. FARRIS,
   VINCENT G. FARRIS CO., L.P.A.,

         Relief Defendants.


            FINAL JUDGMENT AS TO DEFENDANT MICAHEL B. COLUMBIA


         This matter is before the Court upon Plaintiff Securities and Exchange

   Commission’s (“SEC”) Unopposed Motion for Entry of Final Judgment as to Defendant
Case No. 1:13-cv-03363-CMA-KLM Document 210 filed 06/28/19 USDC Colorado pg 2 of 5




   Michael B. Columbia Based on Consent. (Doc. # 208.) Defendant Michael B. Columbia

   has entered a general appearance; consented to the Court’s jurisdiction over him and

   the subject matter of this action; consented to entry of this Final Judgment; waived

   findings of fact and conclusions of law; waived any right to appeal from this Final

   Judgment; and admitted to the facts set forth in the Plea Agreement. (Id.; Doc. # 208-

   1.) The Court, having reviewed the SEC’s Motion and Defendant Michael B. Columbia’s

   Consent, grants the SEC’s Motion.

          It is ORDERED, ADJUDGED, and DECREED that Defendant Michael B.

   Columba is permanently restrained and enjoined from violating, directly or indirectly,

   Section 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. § 78j(b), and Rule 10b-

   5 promulgated thereunder, 17 C.F.R. § 240.10b-5, by using any means or

   instrumentality of interstate commerce, or of the mails, or of any facility of any national

   securities exchange, in connection with the purchase or sale of any security:

             (a) to employ any device, scheme, or artifice to defraud;

             (b) to make any untrue statement of a material fact or to omit to state a

          material fact necessary in order to make the statements made, in the light of the

          circumstances under which they were made, not misleading; or

             (c) to engage in any act, practice, or course of business which operates or

          would operate as a fraud or deceit upon any person.

   It is FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

   Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice of this Final Judgment by personal service or otherwise: (a)


                                                 2
Case No. 1:13-cv-03363-CMA-KLM Document 210 filed 06/28/19 USDC Colorado pg 3 of 5




   Defendant Michael B. Columbia’s officers, agents, servants, employees, and attorneys;

   and (b) other persons in active concert or participation with Defendant Michael B.

   Columbia or with anyone described in (a).

          It is FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

   Michael B. Columba is permanently restrained and enjoined from violating Section 17(a)

   of the Securities Act of 1933, 15 U.S.C. § 77q(a), in the offer or sale of any security by

   the use of any means or instruments of transportation or communication in interstate

   commerce or by use of the mails, directly or indirectly:

             (a) to employ any device, scheme, or artifice to defraud;

             (b) to obtain money or property by means of any untrue statement of a

          material fact or any omission of a material fact necessary in order to make the

          statements made, in light of the circumstances under which they were made, not

          misleading; or

             (c) to engage in any transaction, practice, or course of business which

          operates or would operate as a fraud or deceit upon the purchaser.

   It is FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

   Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice of this Final Judgment by personal service or otherwise: (a)

   Defendant Michael B. Columbia’s officers, agents, servants, employees, and attorneys;

   and (b) other persons in active concert or participation with Defendant Michael B.

   Columbia or with anyone described in (a).




                                                3
Case No. 1:13-cv-03363-CMA-KLM Document 210 filed 06/28/19 USDC Colorado pg 4 of 5




          It is FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

   Michael B. Columbia is liable for disgorgement of $11,450,570.08, representing profits

   gained as a result of the conduct alleged in the Complaint, which will be deemed

   satisfied by the $12,209,667.51 of restitution assessed against him in the criminal case,

   United States v. Michael B. Columbia, Crim. No. 5:12-cr-50053 (D. Ark.). The

   Commission is not seeking and the Court is not ordering Defendant Michael B.

   Columbia to pay a civil penalty, because of his criminal conviction and the fifty-one (51)

   month prison sentence imposed, or prejudgment interest due to the finding in the

   criminal Judgment that Michael B. Columbia does not have the ability to pay.

          It is FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

   exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §

   523, the allegations in the complaint are true and admitted by Defendant Michael B.

   Columbia, and further, any debt for disgorgement, prejudgment interest, civil penalty or

   other amounts due by Defendant Michael B. Columbia under this Final Judgment or any

   other judgment, order, consent order, decree or settlement agreement entered in

   connection with this proceeding, is a debt for the violation by Defendant Michael B.

   Columbia of the federal securities laws or any regulation or order issued under such

   laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

          It is FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent

   (Doc. # 208-1) is incorporated herein with the same force and effect as if fully set forth

   herein, and that Defendant Michael B. Columbia shall comply with all of the

   undertakings and agreements set forth therein.


                                                4
Case No. 1:13-cv-03363-CMA-KLM Document 210 filed 06/28/19 USDC Colorado pg 5 of 5




          It is FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

   retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

   Judgment.

          There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules

   of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith and

   without further notice.




          DATED: June 28, 2019
                                                     BY THE COURT:



                                                     _______________________________
                                                     CHRISTINE M. ARGUELLO
                                                     United States District Judge




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